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                                                    August 23, 2022

       Via CM/ECF
       Hon. Freda L. Wolfson, U.S.D.J.
       United States District Court, District of New Jersey
       Clarkson S. Fisher Building & U.S. Courthouse
       402 East State St.
       Trenton, NJ 08608

                       Re:      Defense Distributed, et al. v. Matthew J. Platkin,
                                Civil Action Nos. 19-cv-4753 & 21-cv-9867 (Consolidated)

       Dear Chief Judge Wolfson:

                  The State respectfully submits this letter brief in opposition to Plaintiffs’

       motion for reconsideration. Plaintiffs offer a single basis for reconsideration: their

       unilateral decision to dismiss Case No. 19-4753 without prejudice, mere hours after

       this Court’s July 27, 2022 denial of their transfer motion, in an effort to undermine

       this Court’s decision. But this reconsideration motion runs into two immediate and

       independently sufficient problems. For one, reconsideration is not a vehicle for the

       party that loses a motion to engage in post-ruling gamesmanship. For another, even

       beyond that fatal procedural defect, Plaintiffs’ motion for reconsideration changes




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 nothing about this case. Even after Plaintiffs’ voluntary dismissal of No. 19-4753,

 this Court’s concern with duplicative litigation still applies, meaning that Plaintiffs’

 gambit utterly fails to resolve the problem. And the other reasons this Court gave for

 denying transfer likewise continue to justify this Court’s decision to deny transfer.

 For any and all of these reasons, this Court should deny Plaintiffs’ motion.

 I.    This Reconsideration Motion Should Be Denied Because Post-Decision
       Gamesmanship Is Not Permitted.

       The first problem is a procedural one: Plaintiffs’ theory for reconsideration is

 not consistent with the role of such motions. Local Rule 7.1(i) allows motions for

 reconsideration, but the motion remains “an extremely limited procedural vehicle.”

 Resorts Int’l, Inc. v. Greate Bay Hotel & Casino, Inc., 830 F. Supp. 826, 831 (D.N.J.

 1992); In re Vonage Initial Pub. Offering (IPO) Sec. Litig., No. 07-cv-177 (FLW),

 2009 WL 1586945, at *2 (D.N.J. June 3, 2009) (“[R]elief by way of a motion for

 reconsideration is an extraordinary remedy that is to be granted very sparingly.”

 (internal citations omitted)). Reconsideration is warranted only when the decision to

 be reconsidered “overlooked a factual or legal issue that may alter the disposition of

 the matter.” Church & Dwight Co. v. Abbott Labs., 545 F. Supp. 2d 447, 450 (D.N.J.

 2008). Moreover, a “motion for reconsideration cannot be used to relitigate old

 matters, raise argument, or present evidence that could have been raised prior to the

 entry of judgment.” Boretsky v. Governor of New Jersey, 433 F. App’x 73, 78 (3d
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 Cir. 2011) (internal citations and alteration omitted); see also NL Indus., Inc. v. Com.

 Union Ins. Co., 935 F. Supp. 513, 516 (D.N.J. 1996).

       Plaintiffs’ theory for reconsideration does not fit the bill. As Plaintiffs admit,

 their only basis for this motion is their post hoc voluntary dismissal of No. 19-4753.

 That post-decision strategic choice does not entitle them to reconsideration because

 Plaintiffs could have raised that issue before this Court’s July 27 decision but chose

 not to. Indeed, Plaintiffs have passed up countless opportunities to dismiss that case

 in the three-and-a-half years since it was filed. They chose not to dismiss it in March

 2019 after Judge Thompson stayed No. 19-4753 pending resolution of the Texas

 action. They chose not to dismiss it when the Third Circuit dismissed their appeal of

 the stay—even though the Third Circuit specifically admonished them for

 prolonging a forum fight that was certain to delay merits litigation. See Defense

 Distributed v. Att’y Gen. of N.J., 972 F.3d 193, 201 (3d Cir. 2020). And even in the

 Spring of 2022—after two years of motion practice and multiple appeals focused on

 the inefficiencies generated by Plaintiffs’ two-front battle—Plaintiffs still took no

 action, despite the State arguing to this Court in its transfer briefing about this risk

 of duplicative litigation. See No. 19-4753, ECF 57 at 7.

       That proves fatal to this motion. Because the basis of Plaintiffs’ motion “could

 have been raised prior to the entry of judgment,” Boretsky, 433 F. App’x at 78, it

 cannot be a valid basis for a reconsideration motion. After all, “such motions are not
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 an opportunity to argue what could have been, but was not, argued in the original set

 of moving and responsive papers.” Bowers v. Nat’l Collegiate Athletic Ass’n, 130 F.

 Supp. 2d 610, 613 (D.N.J. 2001). And of course, this Court did not “overlook” and

 could not have overlooked a shift in position that occurred after the Court ruled. Cf.

 Consol. Gold Fields, PLC v. Anglo Am. Corp. of South Africa Ltd., 713 F. Supp.

 1457, 1476 (S.D.N.Y. 1989) (agreeing that “by definition material that has not been

 previously presented cannot have been previously ‘overlooked’ by the court”).

       Not only is this action too late to justify a motion for reconsideration, but the

 gamesmanship displayed further undermines Plaintiffs’ demand. Plaintiffs’ decision

 to wait until after the Court ruled to dismiss No. 19-4753 can only be explained as

 an improper (if mistaken) attempt to manufacture grounds for reconsideration. That

 is why Plaintiffs never pretend their same-day voluntary dismissal of No. 19-4753

 was motivated by anything other than an adverse decision by the Court. See ECF 61-

 1 at 2 (Plaintiffs acknowledging that their dismissal was a post-decisional effort to

 “put[] the issue beyond doubt by establishing as a matter of law that simultaneous

 litigation cannot occur.”). But a motion for reconsideration is simply not a vehicle

 for “changing facts and responding to the court’s conclusions” after losing a motion.

 Jolly Grp., Ltd. v. Medline Indus., Inc., 435 F.3d 717, 721 (7th Cir. 2006); see also,

 e.g., In re Pretty Girl, Inc., No. 14-11979, 2022 WL 2135360, at *2 (S.D.N.Y. June

 14, 2022) (reconsideration is not “an opportunity for a party to plug[] the gaps of a
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 lost motion with additional matters”) (quoting Carolco Pictures Inc. v. Sirota, 700

 F. Supp. 169, 170 (S.D.N.Y. 1988)); Beneficial Innovations, Inc. v. Blockdot, Inc.,

 No. 7-263, 2010 WL 11469805, at *2 (E.D. Tex. Oct. 27, 2010) (denying motion for

 reconsideration where plaintiff’s recent statements to Patent Office were “merely

 self-serving statements crafted for the sole purpose of manufacturing evidence in

 order to support this motion for reconsideration”); Ctr. One v. Vonage Holdings

 Corp., No. 8-467, 2010 WL 3257642, at *6 (E.D. Tex. Aug. 17, 2010) (“After

 deliberately and strategically choosing not to participate in an earlier motion to

 transfer and thereby withhold relevant facts and arguments from the Court,

 [Defendants] now ask the Court to revisit the issue. The Court will not tolerate such

 gamesmanship and waste of judicial resources.”). This is the very kind of “heads-I-

 win-tails-you-lose” approach to litigation that federal courts abhor.

       Because the sole grounds of Plaintiffs’ motion are procedurally illegitimate,

 this Court can and should reject it outright.

 II.   Plaintiffs’ Dismissal Of No. 19-4753 Changes Nothing About The Court’s
       Rationale And Decision.

       Beyond its procedural infirmities, there is a deeper problem with this motion

 for reconsideration: Plaintiffs’ gambit does nothing to resolve the problems that led

 this Court to deny the transfer motion in the first place. First, dismissing No. 19-

 4753 without prejudice does not resolve the problem of duplicative litigation that the
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 Court identified. Second, the other transfer factors militate against transfer even

 without the duplicative litigation problem, and are unaffected by the post-decision

 dismissal. Plaintiffs thus cannot show that their last-ditch maneuver “may alter the

 disposition of the matter.” Church & Dwight, 545 F. Supp. 2d at 450.

       A.     The Dismissal Changes Nothing About The Risk Of Duplicative
              Litigation That Led This Court To Deny Transfer.

       Although the thrust of Plaintiffs’ motion for reconsideration is that this Court

 need no longer worry about simultaneous duplicative litigation between Texas and

 this forum now that they dismissed No. 19-4753, Plaintiffs misunderstand the scope

 of this Court’s concerns and the State’s objections. In short, this Court was correctly

 concerned with duplicative litigation at any point if No. 21-9867 proceeds in Texas

 and the Non-Texas Plaintiffs proceed in this Court. While Plaintiffs’ latest action

 will delay that duplication, it will by no means eliminate or even mitigate it.

       This Court’s opinion rejecting Plaintiffs’ transfer request makes the breadth

 of its concerns plain. See ECF 58 (“Transfer Op.”). In their initial transfer request,

 Plaintiffs made a proposal that—in practical terms—is functionally no different than

 what Plaintiffs propose now: to “transfer DD’s and SAF’s claims against the NJAG

 in the Texas action back to Texas, while staying the Non-Texas Plaintiffs’ claims in

 the NJ action.” Transfer Op. at 26. This Court rejected that proposal outright,

 reasoning that it “would not prevent duplicative litigation.” Id. After all, this Court
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 explained in its ruling, “the Non-Texas Plaintiffs have expressed an intention to

 litigate their claims, which are distinct from those that DD and SAF assert, regardless

 of how DD and SAF proceed,” such that “there is no reason to expect that the Non-

 Texas Plaintiffs would abandon their claims in this Court following a decision in

 Texas.” Id.; see also id. at 25 (finding “a reasonable probability that [the Non-Texas

 Plaintiffs] would ultimately end up litigating their claims in this Court.”). While the

 transfer-and-stay proposal would have addressed the risk of simultaneous litigation,

 it “would not prevent duplicative litigation” and thus fell short. Id. at 26.

       Under this latest proposal the same problems of duplicative litigation persist,

 notwithstanding the voluntary dismissal of No. 19-4753 without prejudice. Bluntly,

 the Plaintiffs in No. 19-4753 are not “abandon[ing] their claims” by serving a

 dismissal without prejudice. Id. at 25. To the contrary, as this Court is aware, if

 Plaintiffs’ new effort succeeds, the Non-Texas Plaintiffs will be back in this Court

 “following a decision in Texas.” Id. The Non-Texas Plaintiffs have always

 maintained that their claims must be heard in this Court no matter what, stating that

 they “are completely absent” from the Texas-initiated action, that they “play no role

 whatsoever in that case and cannot control its fate in any way,” and that the March

 2019 stay of No. 19-4753 had “put [the Non-Texas Plaintiffs] out of court entirely.”

 Appellants’ Supp. Br., Nos. 19-1729 & 19-3182, 2020 WL 469953, at *8-9 (3d Cir.

 Jan. 27, 2020). These plaintiffs’ consistent prior statements have left this Court with
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 no doubt that they will inevitably re-file in this Court, and their voluntary dismissal

 without prejudice preserves that ability. That the procedure they will use to do so is

 different—move to lift a stay, or re-file their claims—makes no real-world

 difference.

       Plaintiffs’ dismissal of No. 19-4753 without prejudice is simply an effort to

 achieve the same result as Plaintiffs’ unsuccessful transfer-and-stay proposal sought:

 the ability to litigate Defense Distributed’s claims in Texas and then litigate the Non-

 Texas Plaintiffs’ claims in this district. This Court already rejected that as a basis for

 transfer, and all of the Court’s reasoning applies with equal force today.

        B.     The Dismissal Changes Nothing About The Additional Reasons
               This Court Gave For Denying Transfer.

       In addition to the continued problem of duplication, this Court gave a number

 of reasons for denying Plaintiffs’ transfer motion, all of which remain unaffected by

 the dismissal of No. 19-4753. Those reasons are overwhelming and independently

 justify denying transfer, further proving that Plaintiffs failed to meet their ultimate

 burden on reconsideration of establishing errors that “might reasonably have resulted

 in a different conclusion.” Bowers, 130 F. Supp. 2d at 613.

       First, this Court correctly found that litigating claims against a New Jersey

 official in Texas will require substantially more judicial resources because “certain

 factual disputes regarding personal jurisdiction remain” in Texas. Transfer Op. at
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 20. And this Court recognized that if those disputes as to the scope of the Attorney

 General’s cease-and-desist letter were resolved in his favor, it “would foreclose

 personal jurisdiction over the NJAG” in Texas. Id. at 20-21. Either way, transfer to

 Texas would “require the Texas District Court to conduct discovery and resolve

 issues concerning personal jurisdiction, which weighs heavily against transfer.” Id.

 at 24 (citing cases). After all, no dispute involving personal jurisdiction exists in the

 District of New Jersey. Nothing about the subsequent voluntary dismissal of No. 19-

 4753 obviates the jurisdictional issues that will plague this case in Texas.

       Second, the Court properly determined that this district “has familiarity and

 experience with interpreting New Jersey law,” further weighing against transfer.

 Transfer Op. at 33. This Court’s finding makes eminent sense: “New Jersey courts

 have greater ‘familiarity with New Jersey’s overall statutory framework regulating

 firearms and the public policies those laws promote’ and ‘have been the primary fora

 for deciding legal challenges to New Jersey firearms laws.” Defense Distributed v.

 Grewal, 971 F.3d 485, 499 n.3 (5th Cir. 2020) (Higginson, J., concurring). And only

 the circuit overseeing this district maintains the “authority to certify questions of

 New Jersey state law to the Supreme Court of New Jersey,” which “could interpret

 N.J.S.A. 2C:39-9(l)(2)” to resolve the alleged ambiguity that undergirds Plaintiffs’

 void-for-vagueness claim. Transfer Op. at 26. That is another reason that this Court

 is the more efficient forum for this dispute, regardless of No. 19-4753.
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       Third, this Court was right to place great weight on the fact that, even focusing

 only on the Texas action, the Fifth Circuit opinion “both overstates Texas’s interests

 and downplays New Jersey’s” interests in the litigation. Transfer Op. at 30. This

 Court explained that the Fifth Circuit “does not account for the fact that [Defense

 Distributed] seeks to publish [digital firearms information] nationwide,” rather than

 in Texas in particular, and “nothing alleged in the various complaints suggests that

 the NJAG’s actions uniquely restricted Texans’ access” to these materials. Id. at 30-

 31. This Court further found that the Fifth Circuit “significantly understates New

 Jersey’s interest in this litigation,” reasoning that “it is difficult to overstate New

 Jersey’s interests in the constitutionality of a law enacted to prevent its citizens from

 manufacturing deadly weapons entirely outside of the state’s regulatory regime.” Id.

 at 29, 31. And this Court responded to the Fifth Circuit’s assertion that New Jersey’s

 interest is diminished since “the Texas court’s ruling will have no direct effect on

 New Jersey’s citizens,” finding this is “not true.” Id. at 31. Nothing in the motion for

 reconsideration is remotely responsive to this concern.

       Fourth, this Court correctly concluded that few, if any, efficiencies would be

 gained by hearing claims against the New Jersey Attorney General and against

 United States Department of State officials together. Id. at 12 n.13. While Plaintiffs

 contend their tortious-interference claim against New Jersey overlaps with their

 claims against the federal officials, this Court noted that sovereign immunity “would
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 likely bar” the tortious-interference claims. Id. at 32. At bottom, this Court gave

 ample reasons to deny transfer of this challenge to the validity of New Jersey laws

 to Texas federal court, and none of those reasons are impacted in any way by

 Plaintiffs’ post-hoc dismissal of No. 19-4753.

       Plaintiffs’ motion for reconsideration is procedurally invalid. Their post-

 decision conduct does not overcome the concerns with duplicative litigation. And

 the motion is entirely nonresponsive to the other reasons that independently sustain

 this Court’s decision to deny transfer. Plaintiffs have not satisfied the high bar for

 reconsideration.

                                  Respectfully submitted,

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                                  OF NEW JERSEY

                           By:    /s/ Tim Sheehan
                                  Tim Sheehan
                                  Deputy Attorney General

 cc:   All counsel of record (via CM/ECF)
